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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA



WILLIAM LELAND EDWARDS

                              Plaintiff.                  Civil Action No. 1:25-cv-880

              -v-

U.S. CUSTOMS AND BORDER
PROTECTION,

      c/o Office of Chief Counsel
      U.S. Customs and Border Protection
      1300 Pennsylvania Avenue, Suite 4.4-B
      Washington, D.C. 20229

                              Defendant.


      PLAINTIFF’S NOTICE OF ERRATA PERTAINING TO THE COMPLAINT

       Subsequent to the filing of the Complaint in the above-captioned case, it was recognized

that the attorneys’ District of Columbia Bar numbers were not included in the signature block.

       Attached as Exhibit A is a corrected Complaint Under the Freedom of Information Act

for Declaratory and Injunctive Relief, with the sole change being that the attorneys’ District of

Columbia Bar numbers were added to the signature block.

Dated: March 26, 2025

                                                     Respectfully submitted,

                                                     /s/ David C. Rybicki
                                                     David C. Rybicki (DC Bar No. 976836)
                                                     Robert S. Silverblatt (DC Bar No. 1020748)
                                                     K&L Gates LLP
                                                     1601 K Street, N.W.
                                                     Washington, DC 20006
                                                     Telephone: (202) 778-9370
                                                     Facsimile: (202) 778-9100
                                                     David.Rybicki@klgates.com
                                                     Counsel for Plaintiff William L. Edwards
